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             IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                       OFFICE OF SPECIAL MASTERS
                                               No. 11-567V
                                           Filed: June 2, 2014
                                          (not to be published)

****************************
SANDRA MCCRAY,             *
                           *
              Petitioner,  *                                         Stipulation; Flu Vaccine
v.                         *                                         Brachial Neuritis;
                           *                                         Carpal Tunnel Syndrome;
SECRETARY OF HEALTH        *                                         Complex Regional Pain
AND HUMAN SERVICES,        *                                `        Syndrome
                           *
              Respondent.  *
****************************

Irene McLafferty, Esq., Messa and Associates P.C., Philadelphia, PA for petitioner.
Debra Begley, Esq., U.S. Dept. of Justice, Washington, DC for respondent.

                               DECISION ON JOINT STIPULATION1

Vowell, Chief Special Master:

       Sandra McCray [“petitioner”] filed a petition for compensation under the National
Vaccine Injury Compensation Program2 on September 6, 2011. On February 27, 2014,
I issued a decision that awarded compensation based on a joint stipulation filed by the
parties. Judgment entered on April 1, 2014. On May 14, 2014, the parties filed a
Motion for Relief from Judgment and Associated Relief [“Motion for Relief”] due to a
mistake in the stipulation as to the amount of petitioner’s award. They also filed a
corrected stipulation. On May 29, 2014, the parties’ Motion for Relief was granted, my
prior decision was withdrawn, and the prior judgment was vacated.


1
  Because this unpublished decision contains a reasoned explanation for the action in this case, I intend
to post this decision on the United States Court of Federal Claims' website, in accordance with the E-
Government Act of 2002, Pub. L. No. 107-347, § 205, 116 Stat. 2899, 2913 (codified as amended at 44
U.S.C. § 3501 note (2006)). In accordance with Vaccine Rule 18(b), a party has 14 days to identify and
move to delete medical or other information, that satisfies the criteria in 42 U.S.C. § 300aa-12(d)(4)(B).
Further, consistent with the rule requirement, a motion for redaction must include a proposed redacted
decision. If, upon review, I agree that the identified material fits within the requirements of that provision, I
will delete such material from public access.
2
 National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C. §
300aa (2006).
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       Petitioner alleges that she developed brachial neuritis [“BN”], and/or complex
regional pain syndrome [“CRPS”], and/or carpal tunnel syndrome [“CTS”], and that
these conditions were caused in fact by a flu vaccination. See Revised Joint
Stipulation, filed May 14, 2014, at ¶¶ 2, 4. Further, petitioner alleges that she
experienced residual effects of her injury for more than six months. Id. Respondent
denies that petitioner’s flu vaccine is the cause of her alleged BN, and/or CRPS, and/or
CTS, or any other condition. Revised Stipulation at ¶ 6.

      Nevertheless, the parties have agreed to settle the case. Respondent agrees to
pay petitioner:

        A lump sum of $75,000.00 in the form of a check payable to petitioner,
        Sandra McCray. This amount represents compensation for all damages that
        would be available under § 300aa-15(a).

       The special master adopts the parties’ stipulation attached hereto, and awards
compensation in the amount and on the terms set forth therein. The clerk of the court is
directed to enter judgment in accordance with this decision.3

IT IS SO ORDERED.

                                        s/ Denise K. Vowell
                                        Denise K. Vowell
                                        Chief Special Master




3
  Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by each party filing a notice
renouncing the right to seek review.
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